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11
                                UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA

13   ANIBAL RODRIGUEZ, et al. individually and on   Case No. 3:20-CV-04688 RS
     behalf of all others similarly situated,
14                                                  [PROPOSED] ORDER GRANTING
15                              Plaintiff,          GOOGLE LLC’S MOTION TO
                                                    EXCLUDE PLAINTIFFS’ EXPERT
16          vs.                                     OPINION OF BRUCE SCHNEIER

17   GOOGLE LLC, et al.,                            Date:        May 15, 2025
                                Defendant.          Time:        1:30 p.m.
18                                                  Ctrm:        3 - 17th Floor
19                                                  Judge:       Hon. Richard Seeborg

20                                                  Action filed: July 14, 2020
                                                    Trial Date:   August 18, 2025
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                  [PROPOSED] ORDER GRANTING GOOGLE’S MOTION TO EXCLUDE
                       PLAINTIFFS’ EXPERT OPINION OF BRUCE SCHNEIER
                                   Case No. 3:20-CV-04688 RS
       Case 3:20-cv-04688-RS          Document 472-5         Filed 04/03/25      Page 2 of 2




1                                          [PROPOSED] ORDER

2           Before the Court is Defendant Google LLC’s (“Google”) Motion to Exclude Plaintiffs’ Expert

3    Opinion of Bruce Schneier (“Mr. Schneier”) and documents filed in connection with that motion.

4           Having considered the Notice of Motion and Motion to Strike Plaintiffs’ Expert’s Opinion, the

5    incorporated Memorandum of Points and Authorities, the Declaration of Eduardo E. Santacana filed

6    concurrently therewith, and the exhibits attached thereto, along with other materials in the record,

7    argument of counsel, and such other matters as the Court may consider, the Court GRANTS Google’s

8    Motion.

9           Accordingly, IT IS HEREBY ORDERED THAT:
10          The opinions of Plaintiffs’ expert Bruce Schneier in his Report submitted February 20, 2023
11   (“2023 Report”) are hereby excluded, except for those opinions embodied in paragraphs 209–221,
12   296–310, and 268–278; and Mr. Schneier’s Supplemental Expert Report, submitted on January 6,
13   2025, is excluded in its entirety. Mr. Schneier is excluded from testifying at the trial of this action,
14   except as to paragraphs 209–221, 296–310, and 268–278 of the 2023 Report.
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16          IT IS SO ORDERED.
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     DATED: ________________                               _____________________________________
20                                                               Honorable Richard Seeborg
                                                                 United States District Judge
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                [PROPOSED] ORDER GRANTING GOOGLE’S MOTION TO EXCLUDE
                     PLAINTIFFS’ EXPERT OPINION OF BRUCE SCHNEIER
                                 Case No. 3:20-CV-04688 RS
